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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

Sapphire Crossing LLC,

                      Plaintiff,

     v.                                                  Case No. 1:18-cv-02072-MN-CJB

HealthEquity, Inc.,                                      Patent Case

                      Defendant.                         Jury Trial Demanded


               JOINT STIPULATION AND ORDER FOR EXTENSION
            OF TIME TO FILE THE CASE MANAGEMENT CHECKLIST,
          THE PROPOSED SCHEDULING ORDER AND THE JOINT LETTER

       Counsel for Plaintiff and counsel for Defendant have met and conferred regarding

extending the parties’ time to file the case management checklist, the proposed scheduling order

and the joint letter in accordance with the Hon. Christopher Burke’s Oral Order on March 8,

2019, which are currently due April 8, 2019.

       The parties have just filed a joint motion to consolidate this case with five other closely

related cases. Sapphire Crossing LLC v. Quotient Technology Inc., D.I 23, 1:18-cv-01717-MN-

CJB (D. Del. 2018). Since it would be advantageous for the Court to consider and rule upon the

joint motion to consolidate before the parties submit the filings related to the Oral Order, the

parties request a short extension on these filings.

       Subject to the Court’s approval, the parties request the deadline to file those documents

be extended to two weeks after the court has ruled on the motion to consolidate. Id.




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Dated: April 8, 2019                Respectfully submitted,

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                  SO ORDERED this ____ day of April, 2019.



                        United States District Court Judge




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